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 4
     Attorney for Defendant
 5   DAVID PEREZ RAMIREZ

 6

 7                           IN THE UNITED STATES DISTRICT COURT

 8                          FOR THE EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,           )        2:07-CR-00248-15 WBS
                                         )
11                           Plaintiff, )
                                         )        STIPULATION AND [PROPOSED]
12   v.                                  )        ORDER TO MODIFY BRIEFING
                                         )        SCHEDULE
13                                       )
     DAVID PEREZ RAMIREZ,                )
14                                       )
                             Defendant. )
15   ___________________________________ )

16          On July 16, 2015, defendant, David Perez Ramirez, filed a motion to

17   reduce his sentence pursuant to 18 U.S.C. § 3582(c)(2) based on Amendment

18   782.   Thereafter, and after undersigned counsel was appointed, the briefing

19   schedule to file an amended motion was modified several times to await the

20   final decision of the Ninth Circuit on its grant of review en banc in United

21   States v. Davis, 9th Cir. no. 13-30133.    On June 13, 2016, the Ninth Circuit

22   issued its decision.     See United States v. Davis, 825 F.3d 1014 (9th Cir.

23   2016) (Davis II).   Thereafter, the matter was continued to allow the parties

24   time to assess their respective positions in light of the change in law

25   effected by Davis II. On September 21, 2016, the government informed Ms.

26   Radekin it intended to oppose Mr. Ramirez’s motion to reduce his sentence,

27   and on September 22, 2016, the Court adopted the parties’ stipulation to

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                STIPULATION AND [PROPOSED] ORDER TO MODIFY BRIEFING SCHEDULE - 1
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 1   modify the briefing schedule pertaining to an amended motion to allow Ms.

 2   Radekin time to prepare such motion.     CR 1439.

 3         The motion is substantially complete; however, Ms. Radekin needs

 4   additional time to obtain updated and additional documents in support of re-

 5   sentencing.   Ms. Radekin has communicated with Mr. Hitt, and he concurs with

 6   this request and the briefing schedule set forth below.

 7         Accordingly, the parties have agreed to the following briefing

 8   schedule:

 9         Motion to reduce sentence                      November 11, 2016

10         Government’s opposition                        December 2, 2016

11         Defendant’s reply, if any                      December 9, 2016

12         Therefore, the parties respectfully stipulate and request that the

13   Court vacate the existing briefing schedule and order the briefing schedule

14   set forth above.

15   Dated: October 14, 2016                        PHILLIP A. TALBERT
                                                    Acting United States Attorney
16

17                                          By:      /s/ Jason Hitt
                                                    JASON HITT
18                                                  Assistant United States Attorney

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20   Dated: October 14, 2016                        /s/ Erin J. Radekin
                                                    ERIN J. RADEKIN
21                                                  Attorney for Defendant
                                                    DAVID PEREZ RAMIREZ
22

23                                          ORDER

24         Pursuant to the parties’ stipulation, and good cause appearing, it is

25   hereby ordered that the briefing schedule relating to an amended motion

26   pursuant to § 3582(c)(2) be modified as follows:

27         Motion to reduce sentence                      November 11, 2016

28         Government’s opposition                        December 2, 2016




                 STIPULATION AND [PROPOSED] ORDER TO MODIFY BRIEFING SCHEDULE - 2
              Case 2:07-cr-00248-WBS Document 1447 Filed 10/14/16 Page 3 of 3


 1            Defendant’s reply, if any                 December 9, 2016

 2   Dated:     October 14, 2016

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                  STIPULATION AND [PROPOSED] ORDER TO MODIFY BRIEFING SCHEDULE - 3
